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        Re:    Jackson v. Nassau County, et al., 18 CV 3007 (JS) (GRB)       ANDREW VILLA

                                                                             *Also Admitted In New Jersey
 Your Honor:

        I represent plaintiff Joseph Jackson in the above-referenced action. I write to
 respectfully oppose the Freeport defendants’ letter dated December 11, 2019 (DE
 #251) purporting to seek reconsideration of the Court’s November 27, 2019 discovery
 order. As set forth herein, there is no basis to disturb the Court’s sound prior ruling.

        Motions for reconsideration are governed by Local Civil Rule 6.3. See, e.g.,
 Anwar v. Fairfield Greenwich Ltd., 164 F. Supp. 3d 558, 560 (S.D.N.Y. 2016)
 (“Reconsideration of a previous order by the court is an extraordinary remedy to be
 employed sparingly in the interests of finality and conservation of scarce judicial
 resources.”) (citations and quotation marks omitted); Mina Inv. Holdings Ltd. v.
 Lefkowitz, 184 F.R.D. 245 (S.D.N.Y. 1999) (“The movant bears the heavy burden of
 demonstrating that the Court overlooked controlling decisions or factual matters that
 were put before it on the underlying motion.”) (citations and quotation marks omitted);
 Anwar, 164 F. Supp. 3d at 561 (“A court must narrowly construe and strictly apply
 Rule 6.3 so as to avoid duplicative rulings on previously considered issues and prevent
 Rule 6.3 from being used to advance different theories not previously argued or as a
 substitute for appealing a final judgment.”) (collecting cases); see also, e.g., Shrader v.
 CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995).

       Far from presenting supervening authority or overlooked facts, Freeport’s
 rambling and confused submission merely regurgitates its failing prior position. See DE
 #251, generally; Norton v. Town of Brookhaven, 47 F. Supp. 3d 152, 155 (E.D.N.Y.
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 2014) (“It is well-settled that a motion for reconsideration is not a vehicle for relitigating
 old issues, presenting the case under new theories, securing a rehearing on the merits,
 or otherwise taking a second bite at the apple.”) (brackets, citation and internal
 quotation marks omitted).

        Freeport’s December 11th letter is marred by misrepresentations of fact and law.
 Compare DE #251, p. 2 (“The Village Defendants have complied with every Court
 directive…”) with order dated October 21, 2019 (“[Freeport] defendants’ October 3,
 2019 email plainly did not comply with this Court’s September 23, 2019 order, which
 expressly required the provision of a sworn statement attesting to the fact that there are
 no known witnesses other than the named defendants.”) (emphasis added);1 see
 Martinez v. City of New York, 16 CV 79 (AMD) (CLP), 2018 WL 604019, *25
 (E.D.N.Y. Jan. 24, 2018) (“[D]efendants and their counsel have repeatedly insisted that
 they have complied fully with the Court’s Orders and their discovery
 obligations….Such a disingenuous claim indicates willfulness and weighs in favor of
 severe sanctions.”) (citations omitted); Candor Versus Advocacy: Courts’ Use of Sanctions
 to Enforce the Duty of Candor Toward the Tribunal, 29 GA. L. REV. 1035, 1058 (1995).

         In another troubling example, Freeport represents that Mr. Jackson “is
 prohibited from ascertaining the identity of individual defendants after the filing of the
 complaint,” citing Barrow v. Wethersfield Police Dep’t, 66 F.3d 466 (2d Cir. 1995). DE
 #251, p. 2. Thankfully for Mr. Jackson this is simply false and does not reflect the
 holding of Barrow. See DaCosta v. City of New York, 296 F. Supp. 3d 569, 591-92
 (E.D.N.Y. 2017), reconsideration denied sub nom. DaCosta v. Tranchina, 285 F. Supp.
 3d 566 (E.D.N.Y. 2018) (Weinstein, J.). To the contrary, “[t]he Court of Appeals for
 the Second Circuit has consistently emphasized that courts should be more lenient with
 civil rights pleadings and permit discovery when plaintiffs would otherwise not be able
 to state a claim for relief due to a lack of information about defendants and their
 practices.” Id. at 596 (collecting cases); id. at 593 (“It is certainly not uncommon for
 victims of civil rights violations to be unaware of the identity of the person or persons
 who violated those rights. This information is in the possession of the defendants, and many
 plaintiffs cannot obtain this information until they have had a chance to undergo
 extensive discovery following institution of a civil action.”) (ellipses, citations and
 quotation marks omitted) (emphasis in original); id. at 594-95 (“[I]t seems indisputable
 that when a plaintiff asks repeatedly during discovery for the names of the officers who
 1
  Indeed, the October 21st order specifically warned defense counsel about the possibility of sanctions.
 Id. (“Counsel [to Freeport] should be reminded that failure to comply with this Court’s directives is,
 to say the least, inadvisable. To make that plain, sanctions could well follow.”).

                                                   2
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 engaged him, the City’s police department has an obligation to conduct research and to
 disclose the identities of those officers.”) (citation and quotation marks omitted) (emphasis
 in original); Martinez, 2018 WL 604019 at *23 (“Perhaps the most critical failure on
 the part of defendants’ counsel was not to interview the officers who defendants knew
 had contact with plaintiff to ask a simple question: ‘Plaintiff claims she was injured in
 the Precinct. Do you know anything about this?’”).2

         The elephant in the room is, of course, DE #242 (plaintiff’s motion to strike),
 concerning a recently discovered tape recording that amplifies plaintiff’s Brady claims
 and broadly undermines Freeport’s arguments here. If it should please the Court, it is
 telling that Freeport has made no effort to confront, let alone explain, that evidence.

        Lastly, the Court should deny the Freeport defendants’ request to extend the
 deadline for its production of insurance information pursuant to Rule 26(a)(1)(A)(iv).
 Although Freeport purports to invoke Rule III(B) of the Court’s Individual Practices,
 it has failed to confer in violation of that rule. (“Failure to comply with [good faith
 conferral requirements], or to include a certification of such efforts consistent with
 FRCP 37(a)(1), will result in the denial of the motion.”). More fundamentally, it has
 been over a year and a half since this action was commenced, the material at issue is
 subject to mandatory initial disclosure and the Freeport defendants were, in any event,
 specifically ordered to produce it six months ago. See Transcript of 7/22/19 Status
 Conference, DE #204, p. 29, ln. 1-7. Plaintiff respectfully submits that Freeport has
 thus had ample time to comply.3

       In light of the foregoing, plaintiff respectfully requests that the Court deny
 Freeport’s motion in its entirety.




 2
   Freeport also cites Cleveland Board of Education v. Loudermill, 105 S. Ct. 1487 (U.S. 1984) as
 supporting its dubious contention that plaintiff has somehow abridged the due process rights of the
 Freeport defendants in bringing this suit. DE #251, pp. 1, 2. This is an abject misstatement of the
 law. See, e.g., Ciambriello v. Cty. of Nassau, 292 F.3d 307, 319 (2d Cir. 2002) (Loudermill holds that
 “a tenured public employee is entitled to a hearing prior to being terminated”). Such dishonest
 argument is disappointing, ironic and frankly disturbing given the very real due process violations that
 resulted in Mr. Jackson’s 23-year wrongful imprisonment and form the basis of the instant action.
 3
   For similar reasons, plaintiff respectfully opposes Freeport’s nugatory request, also made without
 conferral (or certification), that “a conference be schedule (sic) with the Court to address the Plaintiff’s
 pleading deficiencies and the address for Defendant McHale.” DE #251, p. 2.

                                                      3
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       Thank you for your consideration of this request.

                                        Respectfully submitted,

                                        Gabriel P. Harvis

 cc:   All Counsel (by ECF)




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